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                    Attorneys for Plaintiff, individually, and
             11     on behalf of all others similarly situated
             12                            UNITED STATES DISTRICT COURT
             13                         NORTHERN DISTRICT OF CALIFORNIA
             14
                    GERRIE DEKKER, individually and              CASE NO.: 4:19-cv-07918-WHA
             15     on behalf of all others similarly-
                    situated,                                    CORRECTED THIRD AMENDED
             16
                                      Plaintiff,                 CLASS ACTION COMPLAINT
             17                                                  FOR EQUITABLE AND PUBLIC
                    vs.                                          INJUNCTIVE RELIEF, AND
             18
                    VIVINT SOLAR, INC., VIVINT                   OTHER RELIEF
             19     SOLAR HOLDINGS, INC., VIVINT
                    SOLAR DEVELOPER, LLC, and
             20     VIVINT SOLAR PROVIDER, LLC,
                    DOES 1 through 50, inclusive,                DEMAND FOR JURY TRIAL
             21
                                   Defendants.
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               1           Plaintiff Gerrie Dekker, on behalf of herself and all others similarly situated, allege
               2    the following against Defendants Vivint Solar, Inc., Vivint Solar Holdings, Inc., Vivint
               3    Solar Developer, LLC, and Vivint Solar Provider, LLC (“Defendants” or “Vivint Solar”):
               4                                         INTRODUCTION
               5           1.     Vivint Solar specifically targets vulnerable consumers—the elderly, active
               6    duty military personnel, low-income participants in the California Alternate Rates for
               7    Energy (“CARE”) program, non-native English speakers, and at-risk borrowers.
               8           2.     Vivint Solar employs an aggressive door-to-door salesforce, trains its
               9    representatives to deceive consumers, incentivizes their deception, and traps consumers
             10     into long-term obligations that encumber their real property and threaten them with
             11     financial ruin.
             12            3.     At consumers’ front doors and around their kitchen tables, Vivint Solar sales
             13     representatives falsely promise consumers they will only pay for the energy they use.
             14     Touting the simplicity of a single, lower energy bill, sales representatives boast about the
             15     ease of transferring the Solar System if a consumer sells her home, which is also false.
             16     Further, claiming the Solar System will actually increase property value, and they assure
             17     consumers installation and customer service is their forte. It most certainly is not.
             18            4.     Vivint Solar’s primary product is the residential power purchase agreement
             19     (“PPA”)—an increasingly convoluted contract for the power generated by Vivint Solar’s
             20     photovoltaic cells (i.e. solar panels) and the accompanying equipment (collectively, “Solar
             21     Systems”). The PPA provides for a 20-year term, and has evolved from a few pages (of
             22     microscopic print) to 20-plus-page electronic documents, the terms of which consumers
             23     are rarely shown until it is too late.
             24            5.     Vivint Solar advertises and represents that it will design, install, and maintain
             25     these Solar Systems “for free.” What consumers learn later is that in exchange for “free”
             26     Solar Systems and the promised energy savings, consumers are obligated to purchase all
             27     of the power produced by the Solar System installed on their homes leading to multiple
             28     energy bills and higher costs. Even when a Solar System is offline or broken, regardless
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               1    of the cause, the Vivint Solar can still charge the consumer estimated monthly rates under
               2    the PPA.
               3             6.   Perhaps worst of all, consumers learn—often when attempting to sell their
               4    homes—that Vivint Solar utilizes UCC-1 Financing Statements which lead reasonable
               5    consumers to believe there is a lien on their homes. These filings identify consumers as
               6    “debtors”—a deliberate tactic aimed at scaring consumers and which also deters
               7    prospective home buyers. Consequently, consumers are trapped. They must give in and
               8    pay Vivint Solar extortionate prices to buy out their contracts or have the Solar Systems
               9    removed, reduce the selling price of their homes to accommodate buyers that do not want
             10     the Solar Systems, or remain in their homes even when it is not in their bests interests to
             11     do so.
             12              7.   Vivint Solar admits its stranglehold over customers to investors: “When
             13     customers decide to move or sell the home prior to the end of their contract term, the
             14     customer contracts allow our customers to transfer their obligations to the new home
             15     buyer. If the home buyer does not wish to assume the customer’s obligations, the contract
             16     allows us to require the customer to purchase the system.”1 In this way, Vivint Solar’s
             17     business operates as equal parts hostage situation and pyramid scheme.
             18              8.   Therein lies the PPAs’ fatal flaw. Contrary to Vivint Solar’s representations,
             19     the PPAs contain onerous terms regarding early termination or transfer of the agreement.
             20     Specifically, the contracts contain “buy out payments,” “prepayment prices,” and “default
             21     payments” that consumers will be required to pay in the event of early termination of their
             22     contract (collectively, “termination fees”). These termination fees generate substantial
             23     revenues and profits for Vivint Solar, but pose grave financial danger to consumers.
             24              9.   The termination fees constitute unlawful penalties that are void and
             25     unenforceable under California Civil Code section 1671; unlawful and unfair under
             26
                    1
                     Vivint Solar 2018 Annual Report, at p. 2 (emphasis added), available online at
             27
                    https://s2.q4cdn.com/820306591/files/doc_financials/2018/annual/Vivint_Solar_2018_A
             28     nnual_Report.pdf.
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               1    California’s Unfair Competition Law, Business & Professions Code section 17200, et seq.
               2    (“UCL”); and unconscionable under California’s Consumers Legal Remedies Act
               3    (“CLRA”), Civil Code section 1750, et seq.
               4           10.    Plaintiff therefore seeks relief from this Court including to (a) permanently
               5    enjoin Vivint Solar from collecting the termination fees and from using unlawful
               6    liquidated damages provisions in its agreements, (b) provide all Class Members the
               7    opportunity to rescind their agreements, and (c) provide all Class Members with all other
               8    relief available.
               9                                 JURISDICTION AND VENUE
             10            11.    This Court has subject matter jurisdiction in this action because Defendants
             11     entered into PPAs for Solar Systems with Plaintiff and other Class members in Contra
             12     Costa County and throughout the Northern District of California. Further, Plaintiff’s
             13     complaint is not subject to arbitration under Blair v. Rent-A-Ctr., Inc., 928 F.3d 819 (9th
             14     Cir. 2019) (upholding California’s McGill rule) because it seeks public injunctive relief.
             15     Plaintiff’s claims arise under 42 U.S.C. § 1981 and this Court has jurisdiction over this
             16     action under the Class Action Fairness Act, 28 U.S.C. § 1332(d) (“CAFA”), because the
             17     proposed class consists of at least 100 members, the amount in controversy exceeds
             18     $5,000,000, exclusive of interest and costs, and one member of the proposed class is a
             19     citizen of a state different from that of one defendant. No mandatory CAFA exclusion
             20     applies.
             21            12.    Plaintiff alleges on information and belief that the California Class contains
             22     approximately 1,100 members while tens of thousands more signed latter versions of the
             23     PPA with similar provisions. Plaintiff further alleges on information and belief that Vivint
             24     Solar has received more than 6,000 cancellation requests, held nearly 2,000 customers in
             25     default with tens of millions of dollars in associated default prices, and transferred more
             26     than 9,300 solar systems between customers (presumably, in conjunction with real
             27     property transactions).
             28            13.    Plaintiff alleges on information and belief that the tens of thousands of dollars
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               1    Vivint Solar charges, or threatens to charge, each customer in order to cancel an agreement
               2    represent a reasonable estimate of the value of the relief sought. As detailed in paragraphs
               3    16-17, Vivint Solar sought to charge, or did charge, the named Plaintiff tens of thousands
               4    of dollars. When aggregated, this relief amounts to tens of millions of dollars.
               5           14.    CAFA’s amount in controversy requirement is met given the value of the
               6    public injunctive relief sought, the costs of complying with said injunctive relief, and
               7    “attorney’s fees awarded under fee-shifting statutes or contract.” Fritsch v. Swift Transp.
               8    Co. of Arizona LLC, 899 F.3d 785, 793-94 (9th Cir. 2018) (quoting Chavez v. JP Morgan
               9    & Chase Co., 888 F.3d 413, 417 (9th Cir. 2018); see also Anderson v. Seaworld Parks and
             10     Entertainment, Inc., 132 F. Supp. 3d 1156, 1161 (9th Cir. 2015) (citing Int’l Padi, Inc. v.
             11     Diverlink, No. 03-56478, 2005 WL 1635347, at *1 (9th Cir. July 13, 2005) (“[I]n
             12     determining the amount in controversy, we may also include the value of the requested
             13     injunctive relief to either party.”).
             14            15.    Venue is proper in this district pursuant to 28 U.S.C. section 1391 because a
             15     substantial part of the unlawful conduct alleged in this Complaint occurred in this district.
             16                                             PARTIES
             17            A.     Plaintiff
             18            16.    Plaintiff Gerrie Dekker is a California citizen and resident domiciled in
             19     Antioch, California. Dekker entered into a PPA in September 2012. She was a PG&E
             20     CARE program participant at the time. In 2017, after discovering that she was improperly
             21     billed while her Solar System was offline for roughly two years, Ms. Dekker requested
             22     removal of the system, but Vivint Solar demanded approximately $40,000.
             23            17.    On or about June 3, 2016, Vivint Solar sent Plaintiff a “Notice of Default,”
             24     in which it threatened to seek cumulative remedies in the event of breach as specifically
             25     provided in the PPA:
             26                  Remedies for Customer Default. If a Customer Default
                                 occurs, we may exercise any of the following remedies: (i)
             27
                                 terminate this Agreement and demand you pay a But-Out
             28                  Payment; (ii) leave the System in place on your home, but
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               1                 deny you access to and use of the Energy it produces,
                                 which may be redirected and sold to third parties at our
               2                 election; (iii) remove the system from your home; or (iv)
               3                 exercise any other remedy provided under applicable law..
               4    As a result, Vivint Solar retained the right to not only extract the default payment, but also
               5    pursue multiple remedies against her. Indeed, as indicated above, Vivint Solar threatened
               6    to do just that—seek $41,760 plus the costs of removal, court costs, and “applicable taxes.”
               7    In so doing, Vivint Solar sought to preserve the twenty-year contract one way or another.
               8          B.     Defendants
               9          18.    Defendant Vivint Solar, Inc. is a limited liability corporation formed under
             10     the laws of Delaware. Vivint Solar, Inc.’s principal office is located at 3301 North
             11     Thanksgiving Way, Suite 500, Lehi, Utah 84043. According to its filings with the
             12     Securities and Exchange Commission (“SEC”), Vivint Solar, Inc. operates through its
             13     subsidiaries, including Vivint Solar Holdings, Inc., which in turn own “subsidiaries and
             14     other entities related to various solar energy system financing vehicles.” It conducts
             15     business throughout California, and is engaged in the business of leasing, servicing, and
             16     maintaining Solar Systems.
             17           19.    Defendant Vivint Solar Holdings, Inc. (“Vivint Holdings”) is a wholly-
             18     owned subsidiary of Vivint Solar, Inc., and, according to SEC filings, wholly or partially
             19     owns subsidiaries and other entities related to various solar energy system financing
             20     vehicles. One of these subsidiaries is Vivint Solar Developer, LLC, through which Vivint
             21     Holdings conducts business throughout California.
             22           20.    Defendant Vivint Solar Developer, LLC (“Vivint Developer”) is a limited
             23     liability corporation formed under the laws of Delaware. It is managed by Vivint Solar,
             24     Inc. and its principal office is located at 1800 West Ashton Blvd., Lehi, Utah 84043. Vivint
             25     Developer conducts business, and maintains permits in municipalities, throughout
             26     California. Vivint Developer sells, services, and otherwise maintains the Solar Systems
             27     and/or the power generated by the Solar Systems.
             28           21.    Defendant Vivint Solar Provider, LLC (“Vivint Provider”) is a limited
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               1    liability corporation formed under the laws of Delaware and a wholly-owned subsidiary
               2    of Vivint Solar, Inc. On information and belief, Vivint Provider provides administrative,
               3    collection and other management services for various Vivint Solar financing subsidiaries.
               4          22.      The true names and capacities of DOES 1 through 50, inclusive, are unknown
               5    to Plaintiff at this time, and Plaintiff therefore sue such DOE Defendants under fictitious
               6    names. Plaintiff is informed and believe, and thereon alleges, that each Defendant
               7    designated as a DOE is in some manner highly responsible for the occurrences alleged
               8    herein, and that Plaintiff and the class members’ injuries and damages, as alleged herein,
               9    were proximately caused by the conduct of such DOE Defendants. Plaintiff will seek
             10     leave of the court to amend this Complaint to allege their true names and capacities when
             11     ascertained.
             12           23.      Plaintiff is informed and believe, and thereon alleges, that the conduct,
             13     actions, and omissions described herein were willful, known, and intended to violate law,
             14     and that officers, directors, and managing agents of Defendants, and each of them,
             15     approved, ratified, and directed the conduct in order to unjustly enrich themselves at the
             16     expense of consumers.
             17           24.      At all relevant times, Defendants participated in the acts described herein
             18     and, each of them, were the agents, servants, and employees of each and every one of the
             19     other Defendants, as well as the agents of all Defendants, and at all times herein
             20     mentioned, were acting within the course and scope of said agency and employment.
             21           25.      At all relevant times, Defendants, and each of them, were members of, and
             22     engaged in, a joint venture, partnership, and common enterprise, and acted within the
             23     course of, scope of, and in pursuance of said joint venture, partnership, and common
             24     enterprise.
             25           26.      At all relevant times, the acts and omissions of various Defendants, and each
             26     of them, agreed with or contributed to the various acts and omissions of each and every
             27     one of the other Defendants in proximately causing the complaints, injuries, and damages
             28     alleged herein.
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               1          27.    At all relevant times, Defendants, and each of them, approved of, condoned,
               2    or otherwise ratified each and every one of the acts or omissions described herein, or aided
               3    and abetted the acts and omissions of each and every one of the other Defendants, thereby
               4    proximately causing the damages as herein alleged.
               5                                   FACTUAL ALLEGATIONS
               6          A.     Vivint Solar’s Residential Solar Power Purchase Agreement
               7          28.    The PPA is a standardized 20-year contract prepared by Vivint Solar, and its
               8    terms and conditions are not subject to negotiation. As such, Vivint Solar enjoys a superior
               9    bargaining position and uses that position to trap consumers in these contracts of adhesion.
             10           29.    Under the PPA, Vivint Solar receives income from the sale of electricity,
             11     along with tax credits and incentives.
             12           30.    The only mention of credits, rebates, allowances, tax benefits, or certificates
             13     is in a single paragraph wherein the consumer purportedly disclaims any credits, rebates,
             14     incentives, allowances, or certificates that are attributed, allocated, or related to the Solar
             15     System, the energy, or environmental attributes thereof, to Vivint Solar.
             16           31.    Vivint Solar agrees to “complete all required inspections” in one paragraph
             17     and then in a subsequent paragraph obligates the consumer to represent, warrant, and agree
             18     that their “roof is in good condition and repair, without material defects,” and is sufficient
             19     for installation of the Solar System.
             20           32.    Contrary to what Vivint Solar promises in sales pitches, advertising, and
             21     marketing materials, the PPA includes a unilateral authorization for Vivint Solar to “make
             22     filings and recordings with relevant governmental authorities as may be necessary to
             23     provide notice of and to take security interest” in Solar Systems. This includes financing
             24     statements and fixture filings.
             25           33.    Vivint Solar controls the act of signing the PPA. In recent years, it has utilized
             26     an electronic signature on an electronic tablet, which method substantially affects and
             27     frustrates consumers’ ability to review and understand the terms of agreement. Consumers
             28     are not given physical copies of the PPA at the time of signing, nor do sales managers
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               1    review the terms with them on the electronic tablets, nor are they given two physical copies
               2    of the Notice of Cancellation.
               3          34.    Vivint Solar’s supervisors, officers, or managers train sales representatives
               4    not to scroll through every page of the PPA at the time of execution.
               5          35.    Vivint Solar’s supervisors, officers, or managers train sales representatives
               6    to cursorily and deceptively describe arbitration as “faster and cheaper” than the courts
               7    when prompting consumers to initial the arbitration provision.
               8          B.     Termination Fees
               9          36.    Plaintiff and class members entered into iterations of Vivint Solar’s PPA
             10     which are substantially similar. With each iteration, Vivint Solar slightly modified the
             11     language regarding customer payments in the event that the customer moves or otherwise
             12     terminates the contract prior to the contract’s 20-year term. Each iteration of the contract
             13     requires defined payments from the consumer in the event of early termination. These
             14     defined payments all constitute unlawful liquidated damages under California law.
             15           37.    Plaintiff’s contract includes a termination fee related to sale of the property
             16     upon which the solar system is installed, which is subject to Vivint Solar’s unilateral
             17     determination: “Alternatively, if we determine that Property Transferee is not adequately
             18     creditworthy to assume your obligations under this Agreement, or Property Transferee
             19     refuses to assume your obligations under this Agreement, we may terminate this
             20     Agreement on written notice to you and you will be obligated to pay us an (sic) relocation
             21     buy-out payment of Four Dollars ($4) per watt installed.” In addition, Plaintiff’s contract
             22     includes the following termination fee if the agreement is cancelled or terminated for other
             23     reasons, other than due to a force majeure event or seller default, she must pay a “The
             24     ‘Buy-Out Payment’ you will pay us will be Seven Dollars ($7.00) per watt installed.”
             25           38.    The newer iterations of PPAs include the following termination fee related
             26     to sale of the property upon which the solar system is installed: “The ‘Prepayment Price’
             27     will be equal to the sum of the remaining monthly payments of the Energy Price (based
             28     on Our reasonable estimation of the energy to be produced) due to Us during the Term,
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               1    discounted by five percent (5%).” (emphasis in original). They also include the following
               2    “Default Payment” termination fee: “an amount equal to the sum of: (1) the Prepayment
               3    Price, (2) any other amounts due and owing under this Agreement, including (without
               4    limitation) late fees, (3) Our fees and costs associated with removal of the System from
               5    Your Property, (4) loss of expected benefits from the System, including (without
               6    limitation) benefits and sources of revenue associated with the System Interests, and (5)
               7    Our other documented losses.”
               8             39.   Vivint Solar imposed or threatened to impose these termination fees on
               9    Plaintiff and members of the proposed class. Vivint Solar collected significant revenues
             10     from imposing these termination fees on Plaintiff and members of the proposed class.
             11              40.   It is neither impracticable nor extremely difficult to calculate the purported
             12     damages, if any, that Vivint Solar claims to suffer as a result of Plaintiff’s and class
             13     members’ termination of their contracts. The termination fees provided for in the Solar
             14     System contracts are not a reasonable measure or approximation of such damages and do
             15     not provide fair average compensation for any damages. Moreover, the termination fees
             16     are unreasonable and unconscionable. On information and belief, Vivint Solar did not
             17     conduct a reasonable inquiry to calculate fair average compensation for losses, if any, that
             18     it incurs, would incur, or has incurred by virtue of any customer terminations. The
             19     termination fees were not negotiated or discussed with Plaintiff or the members of the
             20     proposed class.
             21              41.   The termination fees imposed by Vivint Solar are unconscionable, void, and
             22     unenforceable under Civil Code sections 1670.5, 1671(b), and 1671(d), constitute an
             23     unlawful, unfair, and deceptive practice under the UCL, and violate the CLRA, including
             24     without limitation Civil Code sections 1770(a)(14) and 1770(a)(19).
             25              C.    Vivint’s Door-to-Door Sales Model
             26              42.   Vivint Solar “primarily uses a direct-to-home sales model.”2 Employees or
             27
             28     2
                        Id. at p. 39 (last visited on October 28, 2019)
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               1    independent contractors, often called “sales managers,” work on a commission basis,
               2    thereby incentivizing aggressive tactics as they go door-to-door in pursuit of the next sale.
               3    These deceptive, high-pressure tactics are aimed at inducing consumers into signing PPAs.
               4            43.    Vivint Solar has also recently “begun compensating based on system size”—
               5    thereby incentivizing over-installation.3
               6            44.    On its website, Vivint Solar describes a “simple, painless, and free” process
               7    from beginning to end, including consultation, design, permitting, installation, and
               8    activation.4
               9            45.    Vivint Solar’s “Residential Customer Operations Manual” directs sales
             10     managers to target “qualifying homes,” deliver a “Solar Renewable Energy Presentation,”
             11     explain the “Customer Agreement,” and describe local success stories. The Operations
             12     Manual further directs sales managers to introduce himself and the company by presenting
             13     his company badge and door-to-door sales license.
             14             46.    From the highest levels of the company, sales managers are directed and
             15     incentivized to deliver pitches that go far beyond what is stated on the website and the
             16     Operations Manual. For example, the sales model permits and encourages overstating
             17     energy cost savings. Specifically, sales managers represent that consumers will enjoy
             18     significant savings off current utility bills and much lower rates than competitors. Vivint
             19     Solar urges consumers to “lock in [an] energy rate for the next 20 years” by “simply paying
             20     a low, predetermined price for every kilowatt-hour your solar panels generate.”
             21             47.    Vivint Solar’s supervisors, officers, or managers train sales representatives
             22     to target low and fixed-income individuals, such as those on public assistance programs
             23     like the California Alternate Rates for Energy (CARE) Program, non-native English
             24     speakers, and active duty military.
             25             D.     Vivint Solar’s False and Deceptive Representations
             26
             27     3
                        Id. at 14. (last visited on October 28, 2019)
             28     4
                        https://www.vivintsolar.com/solar-made-simple (last visited on October 28, 2019).
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               1            48.    Vivint Solar’s supervisors, officers, or managers train sales representatives
               2    to misrepresent energy savings to potential customers by omitting or distorting key details
               3    of utility bills.
               4            49.    For example, Vivint Solar requires sales managers to inform consumers that
               5    their energy rate will not increase by more than 2.9% each year, which suggests they may
               6    see smaller increase or none at all, when, in fact, their power rate will increase by 2.9%
               7    each year.
               8            50.    Vivint Solar further deceives consumers by promising them that, if they ever
               9    sell their home, the company will remove the Solar System for no charge and cancel the
             10     contract.
             11             51.    Vivint Solar permits and encourages sales managers to deceive consumers
             12     into thinking a Solar System is a significant home upgrade, will increase the home’s value,
             13     and will make the home easier to sell. The truth is exactly the opposite.
             14             52.    Vivint Solar’s sales model permits sales managers to conceal or omit material
             15     facts, including, but not limited to the following:
             16                    a. Upon entering into a PPA, Vivint Solar will file a UCC Statement or a
             17
                                        fixture filing in their home’s real property records identifying the
             18
                                        consumer as a “debtor,” thereby clouding the title;
             19
                                   b. Vivint Solar, not the consumer, will receive all credits, rebates, incentives,
             20
                                        allowances, tax benefits, or certificates related to the Solar System;
             21
                                   c. Any credits, rebates, incentives, allowances, tax benefits, or certificates
             22
                                        Vivint Solar receives will never be credited against the price of the Solar
             23
                                        System.
             24
             25             53.    In California, Vivint Solar Vice President of Sales, Jordan Williams, was

             26     asked by an ABC 10 interviewer whether the Solar System adds value to one’s home.

             27     “Yeah, it can,” calling it an “asset on top of your house that has to add value to it.”5
             28     5
                        https://www.youtube.com/watch?v=eO61OhR9P6Y (last visited on April 4, 2019)
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               1          54.   Vivint Solar publishes testimonials or commercials on a YouTube channel
               2    that is available to the public. These videos make the following claims that reinforce its
               3    deceptive sales and marketing practices:
               4                a. Vivint Solar “has delivered on all their promises…”6
               5                b. “No-brainer…How could you walk away from it?...Bottom line is you’re
               6
                                    going to save some money.”7
               7
                                c. Claiming other solar companies had hidden costs in previous sales
               8
                                    pitches, but only Vivint had no costs. “They would be like our new energy
               9
                                    company” for 20 years.8
             10
                                d. “You don’t have all of the worries and you just pay them instead of your
             11
                                    local energy company…9
             12
                                e. How much will I save with a solar power system? “Bottom line: we charge
             13
             14                     less than your current utility. Today, many of our customers are saving

             15                     10-30%...”10

             16                 f. What if the person buying my home doesn’t want solar? Claiming homes
             17                     with solar sell faster than those without, monthly energy savings would
             18                     be an incentive for a purchaser.11
             19                 g. GO™ by Vivint Solar Big Game Commercial: “Save 20-40% on your
             20
             21     6
                      https://www.youtube.com/watch?v=ihK5wN_P898 (last visited on September 13,
             22     2018).
                    7
                      https://www.youtube.com/watch?v=K7U7EQ8O_NA (last visited on November 20,
             23     2019)
                    8
             24       https://www.youtube.com/watch?v=RKdWiUeoAC0 (last visited on September 13,
                    2018).
             25     9
                      https://www.youtube.com/watch?v=Q1GEeUQn4bw (last visited on September 13,
             26     2018).
                    10
                       https://www.youtube.com/watch?v=xr9qIiH_rR0 (last visited on September 13, 2018).
             27     11
                       https://www.youtube.com/watch?v=QehklH7Fe7o (last visited on September 13,
             28     2018).
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               1                     power bill.”12
               2          55.    Vivint Solar represents to consumers that a PPA is a superior option to
               3    purchasing electricity from a utility. On its website, Vivint Solar recently represented “No
               4    upfront cost, save up to 20%* on your utility rate.”13 In giant font above the form to request
               5    a quote, it restated this “up to 20%*” savings language. At the bottom of the page, in
               6    barely legible font, it states, “On average, Vivint Solar customers across the United States
               7    save up to 20% with Vivint Solar’s PPAs and Leases relative to their current utility
               8    rates….” On a different page, it currently states, “Most Vivint Solar customers pay 20-
               9    30% less than their current utility rate, and they also get price protection.”14
             10           56.    Consumer complaints reveal widespread common violations that feature
             11     promises of significant savings and a pay-only-for-what-you-use appeal, but ultimately
             12     turn out to be false. Because Vivint Solar fails to provide consumers with hard copies of
             13     the PPAs, and by training sales managers to avoid discussing or providing an opportunity
             14     to review the terms at the time of execution, consumers are unable to ascertain that they
             15     are being lured into a trap.
             16           57.    In December 2017, the non-partisan consumer watchdog Campaign for
             17     Accountability released a report15 following a year-long investigation that concluded,
             18
                                 [P]romises of clean energy at reduced cost have proven
             19                  deceptive. Unscrupulous actors have exploited vulnerable
             20                  populations, preying on the elderly and those on fixed-incomes.
                                 Companies have misled consumers about the true costs of
             21
                                 installing solar panels, provided shoddy craftsmanship, and left
             22                  homeowners with higher utility costs, all while forcing them to
             23
                    12
             24        https://www.youtube.com/watch?v=FxJIOwSfrBE (last visited on September 13,
                    2018).
             25     13
                       https://www.vivintsolar.com/solar-plans (last visited on September 13, 2018).
             26     14
                       “Pay less for power TM ”, http://vintsolar.com/go-solar.html (last visited on September
                    13, 2018).
             27     15
                       https://campaignforaccountability.org/work/what-consumer-complaints-reveal-about-
             28     the-solar-industry/
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               1                 sign unconscionable contracts that leave little possibility of
                                 recourse.
               2
                          58.    In March 2018, the New Mexico Attorney General filed a 17-count complaint
               3
                    against Vivint Solar alleging fraud, deceptive business practices, and racketeering.16
               4
                          59.    In October 2019, the New Jersey Division of Consumer Affairs announced
               5
                    that Vivint Solar agreed to pay roughly $122,000 in penalties, investigative costs, and
               6
                    legal fees following complaints from homeowners of misrepresented potential savings,
               7
                    faulty installations, unlawfully obtained credit reports, and poor customer service. 17
               8
                    Acting Director of Consumer Affairs Paul R. Rodriguez said, “Vivint portrayed itself as
               9
                    an affordable alternative for New Jersey consumers looking to lower their energy bills,
             10
                    but sales reps allegedly misled consumers about solar energy contracts and failed to
             11
                    provide essential information that would have allowed consumers to make informed
             12
                    decisions.” Additionally, Vivint Solar agreed to train employees to not trick customers.
             13
                          E.     Vivint Solar’s Misrepresented Fixture Filings
             14
                          60.    On the first page of the PPA, under “Our Promises” and “Our Promises to
             15
                    You,” the PPA states, “We will not place a lien on Your Property.”
             16
                          61.    Then, buried in the agreement–where consumers are not allowed to look at
             17
                    the time of execution–the PPA contains the following statements:
             18
             19                  We will not place a lien on Your Property. You authorize Us to
                                 make filings and recordings with relevant governmental
             20                  authorities as may be necessary to provide notice of and to take
             21                  security interest in Our ownership in the System and the System
             22                  Interests, and Our right to access Your Property, including
                                 (without limitation) financing statements, UCC-1 financing
             23                  statements and fixture filings.
             24
                    16
                       Art Raymond, New Mexico A.G. files fraud, racketeering suit against Vivint Solar,
             25     Deseret News, https://www.deseret.com/2018/3/9/20641469/new-mexico-a-g-files-
             26     fraud-racketeering-suit-against-vivint-solar
                    17
                       Jeff Goldman, Vivint Solar agrees to pay $122K fine over charges of deceptive door-
             27
                    to-door sales practices, NJ.com, https://www.nj.com/news/2019/10/vivint-solar-agrees-
             28     to-pay-122k-fine-over-charges-of-deceptive-door-to-door-sales-practices.html
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               1
                                 Notwithstanding the manner in which the System is attached to
               2                 Your Property, nor any fixture filing by Us, You and We
               3                 hereby agree that the System and the System Interests shall
                                 remain Our sole personal property and shall not be deemed or
               4                 characterized as a “fixture” or any part of the “realty”, as those
               5                 terms may be defined by applicable law. It is further agreed that
               6                 the installation of the System shall not be a repair, remodel,
                                 alteration, conversion, modernization of, or addition to, Your
               7                 Property.
               8    (emphasis added).
               9          62.    “‘Fixture filing’ means the filing of a financing statement covering goods
             10     that are or are to become fixtures … The term includes the filing of a financing statement
             11     covering goods of a transmitting utility which are or are to become fixtures.” Cal. Com.
             12     Code section 9102(40).
             13           63.    “‘Fixtures’    means      goods      that   have   become      so    related   to
             14     particular real property that an interest in them arises under real property law.” Cal. Com.
             15     Code section 9102(41).
             16           64.    Contrary to its representations to consumers, the fixture filings by Vivint
             17     Solar are effectively liens because they identify the consumer as a “debtor” and Vivint
             18     Solar as a “secured party.” The effect of these filings is the clouding of title, which delays,
             19     interferes with, or precludes the sale or refinancing of real property. Vivint Solar’s written
             20     and oral representations assure consumers that the Solar Systems will not affect the
             21     transfer of their real property, but rather boost property values and otherwise render real
             22     property more attractive to prospective buyers.
             23           65.    Consumers are typically unaware of these filings until and unless they seek
             24     to refinance their mortgages or sell their homes. When they do, banks and title companies
             25     discover that the homeowner is identified as a “debtor” on the UCC filings that Vivint
             26     Solar filed with County Recorders. These false “debtor” and “secured party” designations,
             27     which imply the existence of a lien, are made despite the fact that consumers owe no debt
             28
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               1    to Vivint Solar.
               2                                  CLASS ACTION ALLEGATIONS
               3             66.     Plaintiff brings this lawsuit as a class action on their own behalf and on behalf
               4    of all other persons similarly situated as members of the proposed Class, pursuant
               5    to Federal Rules of Civil Procedure 23(a) and (b)(3), and/or (b)(1), (b)(2), and/or (c)(4).
               6    This action satisfies the numerosity, commonality, typicality, adequacy, predominance,
               7    and superiority requirements of those provisions.
               8             67.     The proposed California Class is defined as follows:
               9
                                     All persons in California who entered into Version 1 of the a
             10                      Residential Solar Power Purchase Agreement with Vivint
             11                      Solar.
             12
             13              68.     Excluded from the Classes are: (A) Defendants, any entity or division in
             14     which Defendants have a controlling interest, and their legal representatives, officers,
             15     directors, assigns, and successors; (B) the Judge to whom this case is assigned and the
             16     Judge's staff; and (C) anyone employed by counsel in this action. Plaintiff reserves the
             17     right to amend the Class definitions if discovery and further investigation reveal that any
             18     Class should be expanded, divided into additional subclasses, or modified in another way.
             19              A.      Numerosity and Ascertainability
             20              69.     While the exact number of Class members is uncertain, the size of the Classes
             21     can be estimated with reasonable precision, and the number is great enough that joinder is
             22     impracticable.
             23              70.     Vivint Solar has represented that there are roughly 825 customers in
             24     California who signed version 1.0 of the PPA18 Accordingly, the disposition the Class
             25     members' claims in a single action will provide substantial benefits to all parties and to
             26     the Court. Class members are readily identifiable from information and records in
             27
             28     18
                         See Dkt. 121 at 7.
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               1    possession, custody, or control of Defendants and Class members.
               2          B.     Typicality
               3          71.    The claims of the representative Plaintiff are typical of the claims of the
               4    Classes in that the representative Plaintiff, like all Class members, entered into a PPA with
               5    Defendants, who designed, manufactured, installed, operated, and maintained the Solar
               6    Systems. The representative Plaintiff, like all Class members, was damaged by Defendants
               7    misconduct in that they have suffered actual damages as a result of their purchase of the
               8    Solar System and the imposition of Termination Fees. Furthermore, the factual bases of
               9    Defendants’ misconduct represent a common thread of misconduct resulting in injury to
             10     all Class members.
             11           C.     Adequate Representation
             12           72.    Plaintiff is a member of the Class and will fairly and adequately represent
             13     and protect the interests of the Class. Plaintiff has retained counsel with substantial
             14     experience in prosecuting consumer class actions.
             15           73.    Plaintiff and her counsel are committed to vigorously prosecuting this action
             16     on behalf of the Class and have the financial resources to do so. Neither Plaintiff nor her
             17     counsel have interests adverse to those of the Class.
             18           D.     Predominance of Common Issues
             19           74.    There are numerous issues of law and fact common to Plaintiff and Class
             20     members that predominate over any issue affecting only individual Class members.
             21     Resolving these common issues will advance resolution of the litigation as to all Class
             22     members. These common legal and factual issues include:
             23                  a. Whether Vivint Solar’s Termination Fees are illegal, void and
             24                     unenforceable contractual penalties pursuant to Cal. Civil Code. section
             25                     1671(d);
             26                  b. Whether Vivint Solar’s damages, if any, are extremely difficult or
             27                     impracticable to determine when consumers terminate their PPA;
             28                  c. Whether Vivint Solar conducted a reasonable endeavor, prior to imposing
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               1                      the Termination Fees or including them in the PPA, to fix fair average
               2                      compensation for losses, if any, that it suffers when customers terminate
               3                      their contract;
               4                   d. Whether Vivint Solar’s Termination Fees are unconscionable;
               5                   e. Whether Vivint Solar’s Termination Fees violate the UCL;
               6                   f. Whether Vivint Solar’s Termination Fees violate the CLRA;
               7                   g. Whether Plaintiff and Class members are entitled to declaratory relief;
               8                   h. Whether Plaintiff and Class members are entitled to equitable relief,
               9                      including, but not limited to, a preliminary or permanent injunction; and
             10                    i. Whether Plaintiff and Class members are entitled to an award of
             11                       reasonably attorneys’ fees and costs.
             12           E.       Superiority
             13           75.      Plaintiff and Class members have suffered, and will continue to suffer, harm
             14     as a result of Defendants’ uniformly unlawful and wrongful conduct. A class action is
             15     superior to other available methods for the fair and efficient adjudication of this
             16     controversy.
             17           76.      Without a class action, many, if not most, Class members would likely find
             18     the cost of litigating their claims prohibitively high and would have no effective remedy
             19     at law. Because of the modest size of individual Class members’ claims, it is likely that
             20     few, if any, Class members could afford to seek legal redress for Defendants’ misconduct.
             21     Absent a class action, Class members' damages will go uncompensated, and Defendants’
             22     misconduct and ill-gotten gains will persist and go unpunished.
             23           77.      Class treatment of common questions of law and fact would also be a superior
             24     method to multiple individual actions or piecemeal litigation in that class treatment will
             25     conserve the resources of the courts and the litigants, and will promote consistency and
             26     efficiency of adjudication.
             27           78.      Defendants have acted uniformly manner with respect to the Plaintiff and
             28     Class members.
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               1           79.    Class-wide declaratory, equitable, and injunctive relief is appropriate
               2    under Rule 23(b)(1) and/or (b)(2) because Defendants’ acts apply generally to the class,
               3    and inconsistent adjudications as to Defendants’ liability would establish incompatible
               4    standards and substantially impair or impede the ability of Class members to protect their
               5    interests. Class-wide relief assures fair, consistent, and equitable treatment and protection
               6    of all Class members, and uniformity and consistency in Defendants’ discharge of their
               7    duties to perform corrective action regarding the Solar Systems.
               8                                    FIRST CLAIM FOR RELIEF
               9                                    Unlawful Liquidated Damages
             10                                     Cal. Civil Code section 1671(d)
             11                                         (Injunctive relief only)
             12            80.    Plaintiff re-alleges the factual allegations in the preceding paragraphs above
             13     as if fully set forth herein.
             14            81.    Vivint Solar’s termination fees are impermissible liquidated damages
             15     provisions under California law. The termination fees themselves, the contractual
             16     provisions that provide for them and their imposition and collection by Vivint Solar violate
             17     Cal. Civil Code section 1671(d) and are unlawful, void, and unenforceable under that
             18     statute.
             19            82.    Civil Code section 1671(d) states that a contractual provision, in a contract
             20     for the retail purchase or rental of personal property or services primarily for the party’s
             21     personal, family, or household purposes, liquidating damages for the breach of contract,
             22     is void except that the parties to such contract may agree on an amount that shall be
             23     presumed to be the amount of the damage sustained by a breach thereof, when, from the
             24     nature of the cause, it would be impracticable or extremely difficult to fix that actual
             25     damage. The PPA is a contract for the rental of personal property or for services primarily
             26     for personal, family, or household use by Plaintiff and members of the proposed class.
             27            83.    It would not be impracticable, nor would it be extremely difficult, to
             28     determine what, if any, damages Vivint Solar suffers due to termination of Plaintiff’s and
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               1    Class Members’ PPAs. The liquidated damages in the PPA do not reflect a reasonable
               2    endeavor by Vivint Solar to fix fair average compensation for any harm that Vivint Solar
               3    would suffer, may suffer, or has suffered, if any from, contract termination.
               4           84.    The PPA is a contract of adhesion drafted by Vivint Solar and provided on a
               5    “take it or leave it” basis with no opportunity for any prospective customers to negotiate
               6    any of the terms and conditions. The termination fees contained in these contracts are
               7    liquidated damages that fail to comply with the standards set forth in Civil Code section
               8    1671(d), and therefore constitutes impermissible contractual penalties.
               9           85.    Vivint Solar’s imposition and collection of termination fees from Plaintiff
             10     and the members of the class violations, and at all relevant times has violated, section
             11     1671(d).
             12            86.    Plaintiff and the members of the class have suffered an injury in fact resulting
             13     in the loss of money or property as a result of Vivint Solar’s unlawful collection of
             14     liquidated damages alleged herein. Pursuant to Civil Code section 1671(d), Plaintiff seeks
             15     an order of this Court preliminarily and permanently enjoining Vivint Solar from further
             16     enforcement and collection of termination fees as alleged herein.
             17                                     SECOND CLAIM FOR RELIEF
             18             Unfair Business Practices in Violation of the Unfair Competition Law
             19                            Cal. Bus. & Prof. Code sections 17200 et seq.
             20
             21            87.    Plaintiff re-alleges the factual allegations of the preceding paragraphs above
             22     as if fully set forth herein.
             23            88.    Vivint Solar’s conduct constitutes an unfair business practice within the
             24     meaning of Bus. & Prof. Code sections 17200, et seq.
             25            89.    Vivint Solar violated the “unfair” prong of the UCL by requiring clients to
             26     enter into contracts of adhesion that include termination fees provisions, and by imposing
             27     and collecting the termination fees.
             28            90.    Vivint Solar’s practices with respect to termination fees violate the “unfair”
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               1    prong of the UCL because the termination fees: (1) constitute unfair and wrongful
               2    penalties inconsistent with the language and policy of Civil Code section 1671; and (2)
               3    constitute unconscionable provisions, in violation of various laws and policies recognized
               4    by the California legislature and the California courts, including without limitation Civil
               5    Code section 1670.5 and the CLRA.
               6          91.    Vivint Solar’s practices with respect to termination fees also violate the
               7    “unfair” prong of the UCL because the utility of the termination fees is significantly
               8    outweighed by the gravity of the harm that they impose on consumers. The termination
               9    fees have limited or no utility as compared with alternatives that would more fairly
             10     measure the harm, if any, incurred by Vivint Solar when a client terminates their contract.
             11     The gravity of the harm that the termination fees impose on consumers is substantial in
             12     that they exceed the actual amount of harm, if any, incurred by Vivint Solar. Through their
             13     imposition and collection of the termination fees, Vivint Solar has been massively and
             14     unjustly enriched. Vivint Solar’s termination fees also violate the “unfair” prong of the
             15     UCL because their inclusion in the PPA, imposition, and collection are and at all relevant
             16     times have been, oppressive, unscrupulous, or substantially injurious to customers.
             17           92.    Vivint Solar’s practices with respect to termination fees also violate the
             18     “unfair” program of the UCL because the termination fees, the provisions of the PPA
             19     imposing the termination fees, and Vivint Solar’s enforcement of them through the
             20     imposition and collection of the termination fees causes substantial harm that is not
             21     outweighed by countervailing benefits to consumers or competition, and consumers could
             22     not reasonably have avoided the harm.
             23           93.    Vivint Solar also violates the “unfair” prong of the UCL by imposing, and
             24     seeking to enforce, default provisions which deprive consumers of any meaningful choice,
             25     reserving for itself cumulative remedies in the event of breach. Specifically, the older PPA
             26     provides:
             27                  Remedies for Customer Default. If a Customer Default
                                 occurs, We may exercise any of the following remedies:
             28
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               1                 (i) terminate this Agreement and demand You pay the
                                 Default Payment; (ii) leave the System in place on Your
               2                 Property, but deny You access to and use of the Energy it
               3                 produces, which may be redirected and sold at Our
                                 election; (iii) disconnect or take back the System as
               4                 permitted by applicable law; (iv) place a lien on Your
               5                 Property; (v) engage a collection agency to collect
               6                 payments from You; (vii) [sic] report Your default to
                                 credit reporting agencies; and/or (vii) exercise any other
               7                 remedy available to Us in this Agreement or under
               8                 applicable law.
               9    As a result, Vivint retained the right to not only extract the default payment, but also to
             10     pursue multiple remedies against consumers. The newer PPAs likewise permit cumulative
             11     remedies:
                                 Remedies for Customer Default. If a Customer Default
             12                  occurs, We may exercise any of the following remedies:
             13                  (1) terminate this Agreement and demand You pay the
                                 Default Payment; (2) leave the System in place on Your
             14
                                 Property, but deny You use of the Energy it produces,
             15                  which may be redirected and sold at Our election; (3)
             16                  disconnect or take back the System as permitted by
                                 applicable law; (4) engage a collection agency to collect
             17                  payments from You; (5) report Your default to credit
             18                  reporting agencies; (6) suspend Our performance under
                                 the Agreement; and/or (7) exercise any other remedy
             19
                                 available to Us in this Agreement or under applicable law.
             20                  Seller’s remedies set forth in this Section 6(b)(ii) are
             21                  cumulative and not exclusive.

             22
                          94.    Vivint Solar also violates the “unfair” prong of the UCL by imposing, and
             23
                    seeking to enforce, transfer provisions that do not provide rational alternatives to
             24
                    performance in situations in which the consumer cannot perform under the contract.
             25
                    Instead, these transfer provisions penalize customers who do not transfer the system to a
             26
                    different home or secure a suitable assignee, punishing customers for failing to maintain
             27
                    the contract by threatening to hold customers in default if they cannot. Under the newer
             28
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               1    PPAs, Vivint retains ownership of the system even if the customer prepays, yet still
               2    requires the new customer to comply with “all other obligations under the PPA.
               3           95.    As a result of these unfair provisions, consumers find themselves in a position
               4    where they are unable to sell their homes, or are forced to significantly reduce the sale
               5    price in order to secure a buyer for their properties. Additionally, consumers may find it
               6    difficult to refinance their homes with the secured interest Vivint Solar retains vis-à-vis
               7    UCC-1 financial statements.
               8           96.    Vivint Solar also violates the “unfair” prong of the UCL by imposing
               9    contracts which require consumers to pay for all electricity generated by the system, as
             10     opposed to just the electricity they use. Vivint then over-installs more panels than are
             11     necessary in an effort to generate additional revenue at consumers’ expense, frequently
             12     resulting in consumers paying more for electricity than they were paying before entering
             13     into the PPA with Vivint.
             14            97.    Plaintiff and Class Members have suffered an injury in fact resulting in the
             15     loss of money or property as a result of having paid the termination fees.
             16            98.    Pursuant to Bus. & Prof. Code section 17203, Plaintiff seeks an order of this
             17     Court permanently enjoining Vivint Solar from continuing to engage in their unfair and
             18     unlawful conduct as alleged herein.
             19                                     THIRD CAUSE OF ACTION
             20                   Violation of the California Consumers Legal Remedies Act
             21                                 Cal. Civil Code sections 1750 et seq.
             22            99.    Plaintiff re-alleges the factual allegations of the preceding paragraphs above
             23     as if fully set forth herein.
             24            100. Vivint Solar has engaged in deceptive practices, unlawful methods of
             25     competition or unfair acts as defined by Civil Code section 1750, et seq., to the detriment
             26     of Plaintiff and members of the proposed California subclass. Plaintiff and members of
             27     the California subclass have suffered harm as a proximate result of the violations of law
             28     and wrongful conduct of Vivint Solar alleged herein.
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               1          101. Vivint Solar intentionally, knowingly, and unlawfully perpetrated harm upon
               2    Plaintiff and members of the California subclass by inserting unconscionable,
               3    unenforceable, and illegal provisions in their PPA in violation of Civil Code section
               4    1770(a)(19), and by enforcing those provisions. By inserting unconscionable,
               5    unenforceable, and void termination fees in the PPA, and then enforcing those termination
               6    fees, Vivint Solar also violated Cal. Civil Code section 1770(a)(14), which prohibits them
               7    from representing that a transaction confers or involves rights, remedies, or obligations
               8    which it does not have or involve, or which are prohibited by law.
               9          102. Vivint Solar’s policy and practice with respect to their inclusion of
             10     termination fees in the PPA, and their threatened or actual collection of termination fees,
             11     is unlawful, unethical, oppressive, fraudulent, and malicious. The gravity of harm to all
             12     consumers from Vivint Solar’s policies and practices far outweighs any purported utility
             13     those policies and practices have.
             14           103. Plaintiff and Class Members suffered harm as a proximate result of the
             15     violations of law and wrongful conduct of Vivint Solar alleged herein and will continue
             16     to suffer such harm if Vivint Solar’s illegal practices are not abated.
             17           104. Under Cal. Civil Code section 1780(a)(2) and 1780(a)(5), Plaintiff and Class
             18     Members seek injunctive and equitable relief, and any other relief that Court deems
             19     proper, for Vivint Solar’s violations of the CLRA. Plaintiff has mailed an appropriate
             20     demand letter consistent with Cal. Civil Code section 1782(a) and Vivint Solar failed to
             21     take corrective action within 30 days of receipt of the demand letter.
             22                                      PRAYER FOR RELIEF
             23           WHEREFORE, Plaintiff, individually and on behalf of the Class, requests that the
             24     Court order the following relief and enter judgment against Defendants as follows:
             25           A.     Enjoining Defendants from further enforcement and collection of the
             26                  termination fees;
             27           B.     Declaring that Defendants’ sales practices are unfair and lawful, thereby
             28                  rendering all PPAs unconscionable;
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               1          C.   Declaring that this action is a proper class action, certifying the Class,
               2               designating Plaintiff as a representative of the Class, and appointing
               3               Plaintiff’s attorneys as Class Counsel;
               4          D.   Enjoining Defendants from continuing the unfair business practices alleged
               5               herein, requiring Defendants to submit to independent audits of its sales and
               6               energy tracking practices, or otherwise eliminate unfair business practices;
               7          E.   Ordering Defendants to pay an award of reasonable attorneys' fees and costs
               8               of this action;
               9          F.   Ordering such other and further relief as the Court deems necessary, just, and
             10                proper.
             11           G.   For attorney’s fees under California Code of Civil Procedure § 1021.5
             12                because this action will result in the enforcement of an important right
             13                affecting the public interest and because (a) a significant benefit, whether
             14                pecuniary or nonpecuniary, will be conferred on the general public or a large
             15                class of persons, (b) the necessity and financial burden of private
             16                enforcement, or of enforcement by one public entity against another public
             17                entity, are such as to make the award appropriate, and (c) such fees should
             18                not, in the interest of justice, be paid out of the recovery, if any.
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               1    DATED: January 31, 2022           Respectfully submitted,
               2
               3                                      By: /s/ Corey B. Bennett
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               4                                      Joshua D. Boxer (SBN 226712)
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                                                 DEMAND FOR JURY TRIAL
               1
                            Plaintiff hereby demands a jury trial with respect to all issues triable of right by
               2
                    jury.
               3
               4
                    DATED: January 31, 2022                 Respectfully submitted,
               5
               6                                            By: /s/ Corey B. Bennett
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